     Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 1 of 14 Page ID #:87



A643 (Rsv: 11113)Scads end Seizure Wrnnt(P~e I)

                                                               Return
                                                                                                                              e.a
Case No.:                           Date and time wartant executed:           Copy of warrant and 'mvet~ory bbf~with~
             2:19-MJ-5370           December 20, 2019 @ 2:00 PM                 Theodore John "TJ" ~ EU~R~~ ~--
Inventary made in the presence of:                                                   ~f`` _:-
                                        Task Force Officer David Ly              '~~l`~''~~•,  ~
                                                                                          -   N
Inventory of the property taken and name ofany persons)seize:                         ~': ~"' p
                                                                                  j {_-;;~=:~ 3
 The Search Warrant of the person of Theodore John "TJ" HEUER was executed on De~em1~,~~,~0, 2(~A. A
 cellphone, headphones, and charging cord were seized. The cell phone was agreen/grad App~~ Phone 11 Pro
 in a clear case with IMEI: 353245103623272. The Search Warrant of the Subject Premi~es was n`pt s~F4-ched
 due to new information coming available after December 16, 2019, that HEUER was na longer housed at the
 Subject Premises.




                                                            Certification


        1 ~leclare under pen~lc~ of perjury that this inventory is correct and was reiurn~d along with the c~rigi~al warrant to the
designaic:d judge.



Date: ~ ~ °a~~a6                                                      ~'4         .,             _.,~.___ _____ _ __.__.___     __..~ ~.. e
                                                                                       Fre Iing n~IsRr `s aig~ahire

                                                                  S~ ~ovA~►  P~orst'As_.~ __ _____
                                                                          _. __.__W                                   ~ __A___m_..,           __
                                                                                          Prrnled name and (isle
             Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 2 of 14 Page ID #:88

AO 93 (Rev. l 1/13) Search and Seizure Warrant(USAO CDCA Rev. 04/17)



                                          UNITED STATES DISTRICT COURT
                                                                             for the
                                                            Central District of California

                          In the Matter ofthe Search of                        )
                                Theodore John "TJ" Heuer
                                                                                ~      Case No.      2:19-mj-5370
                          described further in Attachments                      ~




                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
        An application by a federal law enforcement officer or an attorney for the government requests the search
ofthe following person or property located in the Central District of California (identify the person or describe the property to be searched
and give its location):

       See Attachments A-1 and A-2

        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, 3rid thSt SUCK SeaTCh Wlll i0Vea1 (identify the person or describe the property to be seized):

       See Attachment B

        Such affidavits) or testimony are incorporated herein by reference.

          YOU ARE COMMANDED to execute this warrant on or before 14 days from the date of its issuance (nor ro exceed 14 days)
       ~ in the daytime 6:00 a.m. to 10:00 p.m. ❑ at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom,or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to the U.S. Magistrate Jude on duty at the time ofthe return
throu a filing with the Clerk's Office.
      ❑ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705(except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
        ❑ for         days (not to exceed 30)     ❑until,the facts justifying, the later           ific date of
                                                                   )
                                                                   ^
                                 /   /                                                     -J~                ~,
Date and time issued:           / L —(~ "~ ~               ~           '"`               -~`~              '~~~~~~'--1
                                                                                                            Judge's signature


City and state:                    Los Angeles, California                                        HONORABLE FREDERICK F. MUMM
                                                                                                          Printed name and title

AUSA: Ali Moghaddas — 213-393-5735
            Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 3 of 14 Page ID #:89

AO 93 (Rev. 11/13) Search and Seizure Warrant(Page 2)

                                                                  Return

Case No.:                               Date and time warrant executed:         Copy of warrant and inventory left with:


Inventory made in the presence of

Inventory of the property taken and name of any persons)seized:




                                                                Certification


       I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                       Executing officer's signature



                                                                                          Printed name and ti11e
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 4 of 14 Page ID #:90




                             ATTACHMENT A-1

PERSON TO BE SEARCHED

      The person of Theodore John "TJ" Heuer ("HEUER"), date of

birth September 29, 1990, with California driver's license

number Y9151687.     HEUER's California Department of Motor Vehicle

records list him as standing 6'2" tall with brown hair and blue

eyes.

        The search of HEUER shall include any and all clothing and

personal belongings, digital devices, backpacks, wallets,

briefcases, purses, and bags that are within HEUER's immediate

vicinity and control at the location where the search warrant is

executed.    The search shall not include a strip search or a body

cavity search.




                                     i
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 5 of 14 Page ID #:91




                             ATTACHMENT A-2

PREMISE TO BE SEARCHED

      The SUBJECT PREMISES to be searched is in the Villa

Treatment Center, 5051 Hood Dr., Woodland Hills, CA, 91364,

which is a single-family home operating as a residential

treatment facility.     Law enforcement shall attempt to determine

the rooms, bathrooms, storage units, garages, detached

structures, sheds, safes, lockers, and safety deposit boxes

assigned for HEUER's use, on the date of execution of the search

 warrant.   The search shall be of those rooms, bathrooms, storage

units, garages, detached structures, sheds, safes, lockers, and

safety deposit boxes assigned for HEUER's use and also shall

include any vehicles located on the premises used by HEUER.




                                     i
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 6 of 14 Page ID #:92




                              ATTACHMENT B

I.    ITEMS TO BE SEIZED

      1.    The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 21 U.S.C.

§ 841(a)(1) (distribution and possession with intent to

distribute controlled substances) and 21 U.S.C. § 846

(conspiracy and attempt to distribute and to possess with intent

to distribute controlled substances) (the "Subject Offenses"),

namely:

            a.   Any controlled substance, controlled substance

analogue, or listed chemical;

            b.   Items and paraphernalia for the manufacturing,

distributing, packaging, sale, or weighing of controlled

substances, including scales and other weighing devices, plastic

baggies, food saver sealing devices, heat sealing devices,

balloons, packaging materials, containers, and money counters;

            c.   Items used in the packaging of currency for

consolidation and transportation, such as money-counting

machines, money wrappers, carbon paper, rubber bands, duct tape

or wrapping tape, plastic wrap or shrink wrap, and plastic

sealing machines;

            d.   United States currency over $1,000 or bearer

instruments worth over $1,000 (including cashier's checks,

traveler's checks, certificates of deposit, stock certificates,

and bonds) (including the first $1,000), and data, records,

 documents, or information (including electronic mail, messages

over applications and social media, and photographs) pertaining



                                     ii
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 7 of 14 Page ID #:93




to, obtaining, possessing, using, applications for, or

transferring money over $1,000, such as bank account records,

cryptocurrency records and accounts;

            e.   Documents and records reflecting the identity of,

contact information for, communications with, or times, dates or

locations of meetings with co-conspirators, sources of supply of

controlled substances, or drug customers, including calendars,

address books, telephone or other contact lists, pay/owe

records, distribution or customer lists, correspondence,

receipts, records, and documents noting price, quantities,

and/or times when drugs were bought, sold, or otherwise

distributed, whether contained in hard copy correspondence,

notes, emails, text messages, photographs, videos (including

items stored on digital devices), or otherwise;

            f.   Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

            g.   Records, documents, programs,. applications or

 materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

 devices and which relate to the above-named violations;

            h.   Records, documents, programs, applications or

 materials, or evidence of the absence of same, sufficient to



                                     iii
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 8 of 14 Page ID #:94




show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written

communications sent to or received from any digital device and

 which relate to the above-named violations;

            i.   Records, documents, programs, applications,

materials, or conversations relating to the trafficking of

drugs, including ledgers, pay/owe records, distribution or

customer lists, correspondence, receipts, records, and documents

noting price, quantities, and/or times when drugs were bought,

sold, or otherwise distributed;

            j.   Audio recordings, pictures, video recordings, or

still captured images related to the purchase, sale,

transportation, or distribution of drugs;

            k.   Contents of any calendar or date book;

            1.   Global Positioning System ("GPS") coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

            m.   Any digital device which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

            n.   With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

                 i.    evidence of who used, owned, or controlled

the device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,



                                     iv
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 9 of 14 Page ID #:95




configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;

                 ii.   evidence of the presence or absence of

software that would allow others to control the device, such as

viruses, Trojan horses, and other forms of malicious software,

as well as evidence of the presence or absence of security

software designed to detect malicious software;

                 iii. evidence of the attachment of other devices;

                 iv.   evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;

                 v.    evidence of the times the device was used;

                 vi.   passwords, encryption keys, biometric keys

and other access devices that may be necessary to access the

device;

                 vii. applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

                 viii.       records of or information about

Internet Protocol addresses used by the device;

                 ix.     records of or information about the device's

Internet activity, including firewall logs, caches, browser

history and cookies, "bookmarked" or "favorite" web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.



                                     v
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 10 of 14 Page ID #:96




      2.    As used herein, the terms "records," "documents,"

 "programs," "applications," and "materials" include records,

 documents, programs, applications, and materials created,

 modified, or stored in any form, including in digital form on

 any digital device and any forensic copies thereof.


 II. SEARCH PROCEDURE FOR DIGITAL DEVICES


       3.   In searching digital devices or forensic copies

 thereof, law enforcement personnel executing this search warrant

 will employ the following procedure:

            a.    Law enforcement personnel or other individuals

 assisting law enforcement personnel (the "search team") will, in

 their discretion, either search the digital device s) on-site or

 seize and transport the devices) and/or forensic image(s)

 thereof to an appropriate law enforcement laboratory or similar

 facility to be searched at that location.       The search team shall

 complete the search as soon as is practicable but not to exceed

 120 days from the date of execution of the warrant.        The

 government will not search the digital device s) and/or forensic

 images) thereof beyond this 120-day period without obtaining an

 extension of time order from the Court.

            b.    The search team will conduct the search only by

 using search protocols specifically chosen to identify only the

 specific items to be seized under this warrant.

                  i.   The search team may subject all of the data

 contained in each digital device capable of containing any of

 the items to be seized to the search protocols to determine



                                     vi
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 11 of 14 Page ID #:97




 whether the device and any data thereon falls within the list of

 items to be seized.    The search team may also search for and

 attempt to recover deleted, "hidden," or encrypted data to

 determine, pursuant to the search protocols, whether the data

 falls within the list of items to be seized.

                  ii.   The search team may use tools to exclude

 normal operating system files and standard third-party software

 that do not need to be searched.

                  iii. The search team may use forensic examination

 and searching tools, such as "Encase" and "FTK" (Forensic Tool

 Kit), which tools may use hashing and other sophisticated

 techniques.

            c.    If the search team, while searching a digital

 device, encounters immediately apparent contraband or other

 evidence of a crime outside the scope of the items to be seized,

 the team shall immediately discontinue its search of that device

 pending further order of the Court and shall make and retain

 notes detailing how the contraband or other evidence of a crime

 was encountered, including how it was immediately apparent

 contraband or evidence of a crime.

            d.    If the search determines that a digital device

 does not contain any data falling within the list of items to be

 seized, the government will, as soon as is practicable, return

 the device and delete or destroy all forensic copies thereof.

            e.    If the search determines that a digital device

 does contain data falling within the list of items to be seized,




                                     vii
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 12 of 14 Page ID #:98




 the government may make and retain copies of such data, and may

 access such data at any time.

            f.    If the search determines that a digital device is

 (1) itself an item to be seized and/or (2) contains data falling

 within the list of other items to be seized, the government may

 retain the digital device and any forensic copies of the digital

 device, but may not access data falling outside the scope of the

 other items to be seized (after the time for searching the

 device has expired) absent further court order.

            g.    The government may also retain a digital device

 if the government, prior to the end of the search period,

 obtains an order from the Court authorizing retention of the

 device (or while an application for such an order is pending),

 including in circumstances where the government has not been

 able to fully search a device because the device or files

 contained therein is/are encrypted.

            h.    After the completion of the search of the digital

 devices, the government shall not access digital data falling

 outside the scope of the items to be seized absent further order

 of the Court.

       4.   The review of the electronic data obtained pursuant to

 this warrant may be conducted by any government personnel

 assisting in the investigation, who may include, in addition to

 law enforcement officers and agents, attorneys for the

 government, attorney support staff, and technical experts.

 Pursuant to this warrant, the investigating agency may deliver a

 complete copy of the seized or copied electronic data to the



                                     viii
Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 13 of 14 Page ID #:99




 custody and control of attorneys for the government and their

 support staff for their independent review.

      5.    In order to search for data capable of being read or

 interpreted by a digital device, law enforcement personnel are

 authorized to seize the following items:

            a.    Any digital device capable of being used to

 commit, further, or store evidence of the offense(s) listed

 above;

            b.    Any equipment used to facilitate the

 transmission, creation, display, encoding, or storage of digital

 data;

            c.    Any magnetic, electronic, or optical storage

 device capable of storing digital data;

            d.    Any documentation, operating logs, or reference

 manuals regarding the operation of the digital device or

 software used in the digital device;

            e.    Any applications, utility programs, compilers,

 interpreters, or other software used to facilitate direct or

 indirect communication with the digital device;

            f.    Any physical keys, encryption devices, dongles,

 or similar physical items that are necessary to gain access to

 the digital device or data stored on the digital device; and

            g.    Any passwords, password files, biometric keys,

 test keys, encryption codes, or other information necessary to

 access the digital device or data stored on the digital device.

       6.   During the execution of this search warrant, law

 enforcement is permitted to: (1) depress HEUER's thumb and/or



                                     ix
         Case 2:19-mj-05370-DUTY Document 3 Filed 01/02/20 Page 14 of 14 Page ID #:100




           fingers onto the fingerprint sensor of the device (only when the

           device has such a sensor), and direct which specific finger s)

           and/or thumb (s) shall be depressed; and (2) hold the device in

           front of HEUER's face with his eyes open to activate the

           facial-, iris-, or retina-recognition feature, in order to gain

           access to the contents of any such device.       In depressing a

           person's thumb or finger onto a device a~                      ev'
                                                                                 V'
                                           law enforcement may not use

           excessive force, as    efined in Graham v. Connor, 490 U.S. 386

           (1989); specifically, law enforcement may use no more than

           objectively reasonable force in light of the facts and

           circumstances confronting them.         ~~,~~~
                                                       c~~e~-t~,~v~ -~yuvL-~- ~~'_ c~,~p~i~~5
~~-~--~ 1QW ~r~.r~e.~~'n~a.   vim-ks~&a
                                      a r~ -~v o~p-~_ h  y~.~rso~ ~ s ~.~S
                7.    The s   cial procedures rePating to~digita~ dev ces

           found in this warrant govern only the search of digital devices

           pursuant to the authority conferred by this warrant and do not

           apply to any search of digital devices pursuant to any other

           court order.




                                               x
